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                                      13
                        LAW
                         AT




                                                               UNITED STATES DISTRICT COURT
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                                      15                      CENTRAL DISTRICT OF CALIFORNIA
                                      16                     (WESTERN DIVISION - LOS ANGELES)
                                      17 ERIC WEBER and BRYAN REES,                 Case No.: 2:17-cv-08868-GW(Ex)
                                      18            Plaintiffs,                     DEFENDANTS’ OPPOSITION TO
                                                                                    PLAINTIFF’S REQUEST TO FILE
                                      19         v.                                 SURREPLY IN OPPOSITION TO
                                                                                    MOTION TO COMPEL
                                      20 AMAZON.COM, INC., and AMAZON               ARBITRATION AND DISMISS
                                         SERVICES LLC,                              CLAIMS
                                      21
                                                    Defendants.                     Judge:      George H. Wu
                                      22                                            Trial Date: NONE SET
                                      23
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                                      28
                                            OPPOSITION TO PLAINTIFF’S
                                            REQUEST TO FILE SURREPLY                    Case No. 2:17-cv-8868 GW(Ex)
                                      Case 2:17-cv-08868-GW-E Document 47 Filed 05/29/18 Page 2 of 2 Page ID #:614



                                        1         Plaintiff’s ex-parte request to file a surreply should be denied. Alternatively,
                                        2 if the Court allows the surreply, Amazon requests leave to file the attached short
                                        3 response to the new (and inconsistent) arguments Plaintiff now hopes to raise.
                                        4         A court should deny leave to file a surreply when the reply does not raise
                                        5 new arguments or new evidence. See Chloe SAS v. Sawabeh Info. Servs. Co., No.
                                        6 CV 11-04147, 2015 WL 12734005 at *3 (C.D. Cal. June 3, 2015) (citing Jordan v.
                                        7 Terhune, No. CIV S-03-1820, 2009 WL 276764, *3 (E.D. Cal. Feb. 5, 2009)).
                                        8 Importantly, evidence raised in a reply in response to arguments or evidence in the
                                        9 opposition is not “new” for purposes of a surreply. Id.
                                      10          Here, the Court set a supplemental briefing schedule to address the
                                      11 applicability of the Ninth Circuit’s Douglas opinion (Dkt. 38). The only additional
                                      12 information Amazon raised in its reply was in direct response to the tangential
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                                      13 arguments Plaintiff raised in his opposition, which contained so many inaccuracies
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                                      14 that Amazon could not leave it unrebutted. Notably, however, Plaintiff’s proposed
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                                      15 surreply does not address the substance of Amazon’s reply. Instead, it raises new
                                      16 arguments that Plaintiff could have raised in the opposition, which was due on May
                                      17 11, 2018.
                                      18          Because there is nothing in Plaintiff’s surreply that he was unable to raise in
                                      19 his supplemental opposition, leave to file the surreply should be denied. But if the
                                      20 Court decides to grant Plaintiff’s request, Amazon also requests that the Court grant
                                      21 its request to file the attached brief response (Exhibit A), addressing the new
                                      22 arguments that Plaintiff has raised for the first time in his surreply.
                                      23 Dated: May 29, 2018                       FENWICK & WEST LLP
                                      24                                           By: /s/ Jedediah Wakefield
                                                                                      Jedediah Wakefield
                                      25
                                                                                   Attorneys for Defendants AMAZON.COM,
                                      26                                           INC. and AMAZON SERVICES LLC
                                      27
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                                            OPPOSITION TO PLAINTIFF’S
                                            REQUEST TO FILE SURREPLY                  1        Case No. 2:17-cv-8868-GW(Ex)
